                   Case 3:21-cv-05805 Document 1 Filed 10/29/21 Page 1 of 18




 1

 2

 3

 4

 5

 6

 7

 8                           UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF WASHINGTON AT TACOMA
 9

10     TRAVELERS PROPERTY CASUALTY                       No.
       COMPANY OF AMERICA, a foreign
11     insurance company,                                COMPLAINT FOR
                                                         DECLARATORY RELIEF
                             Plaintiff,
12                                                       (28 U.S.C. § 2201)
                      v.
13
       PRECISION INDUSTRIAL
14     CONTRACTORS, INC. a Washington
       Corporation, and MAPLEHURST
15     BAKERIES, LLC, a Indiana limited liability
       corporation.
16
                             Defendants.
17

18          Plaintiff Travelers Property Casualty Company of America (hereafter “TPCC”) submits

19   the following Complaint for Declaratory Relief pursuant to 28 U.S.C. § 2201 and Fed.R.Civ.P.

20   57.

21                                         I.      PARTIES

22           1.1    Plaintiff TPCC is a foreign insurance company licensed to conduct business in the

23   State of Washington. TPCC is organized under the laws of the State of Connecticut with its

24
      TRAVELERS PROPERTY CASULTY COMPANY                                 LETHER LAW GROUP
25    OF AMERICA’S COMPLAINT                                     1848 WESTLAKE AVENUE N, SUITE 100
      FOR DECLARATORY RELIEF – 1                                          SEATTLE, WA 98109
                                                                  P: (206) 467-5444 F: (206) 467-5544
                   Case 3:21-cv-05805 Document 1 Filed 10/29/21 Page 2 of 18




 1   principal place of business in the State of Connecticut. TPCC is licensed to transact business in

 2   Washington and at all material times has transacted business in Washington.

 3           1.2    Defendant Precision Industrial Contractors, Inc. (hereafter “PIC”) was and is a

 4   Washington corporation with its principal place of business in Vancouver, Washington.

 5           1.3    Defendant Maplehurst Bakeries (hereafter “Maplehurst”) is an Indiana limited

 6   liability company with its principal place of business in Indiana. At all material times

 7   Maplehurst was and is authorized to transact business in Washington. Maplehurst is a wholly

 8   owned subsidiary of Weston Foods US, Inc., a Delaware Corporation.

 9                               II.     JURISDICTION AND VENUE

10          2.1     Jurisdiction is properly before this Court pursuant to 28 U.S.C. §1332, et. seq., as

11   complete diversity exists among the parties and the amount in controversy exceeds $75,000.

12          2.2     The Court has jurisdiction over this declaratory judgment action pursuant to

13   28 U.S.C. § 2201 because there is an actual and justiciable controversy between the parties with

14   respect to the existence of insurance coverage under the policy of insurance issued by TPCC. A

15   judicial determination and declaration of the rights and obligations of the parties is necessary and

16   appropriate at this time because TPCC has no adequate remedy at law which will resolve the

17   current controversy.

18          2.3     The subject claim arises from activities which allegedly occurred at Maplehurst

19   Bakeries’ commercial bakery, located in 21331 88th Place South, Kent, Washington 98021.

20          2.3     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 as this action involves

21   a dispute over the application of insurance coverage under an insurance policy issued in

22   Washington, events and omissions which gave rise to this claim occurred in this district, and

23

24
      TRAVELERS PROPERTY CASULTY COMPANY                                    LETHER LAW GROUP
25    OF AMERICA’S COMPLAINT                                        1848 WESTLAKE AVENUE N, SUITE 100
      FOR DECLARATORY RELIEF – 2                                             SEATTLE, WA 98109
                                                                     P: (206) 467-5444 F: (206) 467-5544
                  Case 3:21-cv-05805 Document 1 Filed 10/29/21 Page 3 of 18




 1   because Maplehurst is subject to this Court’s personal jurisdiction.

 2                                   III.   FACTUAL BACKGROUND

 3   A.     Underlying Facts

 4          3.1        The subject claim arises from repair and maintenance at the Maplehurst Bakeries’

 5   (hereafter “Maplehurst”) commercial bakery located in Kent, Washington.

 6          3.2        In May of 2016, Maplehurst contracted with John Bean Technologies (hereafter

 7   “JBT”) for the refurbishment of its spiral food freezer.

 8          3.3        This work required removal and reinstallation of the spiral freezer’s conveyor belt

 9   and replacement of the conveyor belt’s connection rods.

10          3.4        JBT contracted a portion of the work to PIC but remained in a supervisory and

11   directory role.

12          3.5        PIC commenced work on the project in May of 2016 and completed its work over

13   a five-day period.

14          3.6        Alleged problems with food contamination began around September 21, 2016,

15   when Maplehurst allegedly received reports of foreign material on a pumpkin pie from one of its

16   major customers, Sam’s Club.

17          3.7        Investigation allegedly revealed the foreign plastic material in question originated

18   from the spiral freezer.

19          3.8        Consultants determined that a portion of the conveyor belt rods were installed

20   backwards. The improperly installed connection rods scraped against the plastic guides, releasing

21   plastic into the spiral freezer including onto some pies that were processed therein.

22          3.9        As a result, Maplehurst was allegedly required to issue a mandatory recall and

23   destroy a significant amount of product. Maplehurst incurred costs for storage, transportation,

24
      TRAVELERS PROPERTY CASULTY COMPANY                                      LETHER LAW GROUP
25    OF AMERICA’S COMPLAINT                                          1848 WESTLAKE AVENUE N, SUITE 100
      FOR DECLARATORY RELIEF – 3                                               SEATTLE, WA 98109
                                                                       P: (206) 467-5444 F: (206) 467-5544
                   Case 3:21-cv-05805 Document 1 Filed 10/29/21 Page 4 of 18




 1   disposal, repairs to the spiral freezer, additional expenses for enhanced inspection of pies, and

 2   had to credit some customers for their costs and losses associated with the recall.

 3          3.10      The recall allegedly affected an estimated 1.7 million pies and Maplehurst claims

 4   damages estimated to exceed $9,900,000.

 5          3.11      Maplehurst’s own forensic accounting determined the production period in

 6   question is between July 27, 2016, and September 30, 2016.

 7   B.     Underlying Lawsuits

 8          3.12      On August 2, 2019, Maplehurst commenced suit against JBT and PIC in King

 9   County Superior Court under cause number 19-2-20355-2 KNT. On December 20, 2019, the

10   court dismissed JBT from the King County Superior Court action based on Illinois venue

11   provisions in JBT’s agreement with Maplehurst. The Court of Appeals Division II has affirmed

12   the trial courts’ dismissal of JBT from the King County Superior Court cause of action.

13          3.13      On January 28, 2020, Maplehurst commenced suit against JBT and PIC in Cook

14   County, Illinois, under cause number 1:2020-cv-01392. PIC has been dismissed from the Cook

15   County action.

16                                  IV.    POLICY OF INSURANCE

17   A.     Identification of the Subject Insurance Policy

18          4.1       TPCC issued a commercial general liability insurance policy to PIC under policy

19   number DTE-CO-2D651799 for the one-year period of June 1, 2015, to June 1, 2016 (hereafter

20   “The Policy”).

21          4.2       PIC’s commercial general liability policy has a $1,000,000 each occurrence limit

22   and $2,000,000 products and completed operations aggregate limit.

23

24
      TRAVELERS PROPERTY CASULTY COMPANY                                   LETHER LAW GROUP
25    OF AMERICA’S COMPLAINT                                       1848 WESTLAKE AVENUE N, SUITE 100
      FOR DECLARATORY RELIEF – 4                                            SEATTLE, WA 98109
                                                                    P: (206) 467-5444 F: (206) 467-5544
                  Case 3:21-cv-05805 Document 1 Filed 10/29/21 Page 5 of 18




 1   B.     Provisions of the Subject Policy

 2          4.3    The commercial general liability portion of the Policy contains the following

 3   insuring agreement:

 4                 SECTION I -COVERAGES
                   COVERAGE A BODILY INJURY AND PROPERTY
 5                 DAMAGE LIABILITY

 6                 1.      Insuring Agreement

 7                         a.    We will pay those sums that the insured becomes
                                 legally obligated to pay as damages because of
 8                               “bodily injury” or “property damage” to which this
                                 insurance applies. We will have the right and duty to
 9                               defend the insured against any “suit” seeking those
                                 damages. However, we will have no duty to defend
10                               the insured against any “suit seeking damages for
                                 “bodily injury” or “property damage” to which this
11                               insurance does not apply. We may, at our discretion,
                                 investigate any “occurrence” and settle any claim or
12                               “suit” that may result. But:

13                               (1)    The amount we will pay for damages is
                                        limited as described in Section III Limits Of
14                                      Insurance; and
                                 (2)    Our right and duty to defend ends when we
15                                      have used up the applicable limit of
                                        insurance in the payment of judgments or
16                                      settlements under Coverages A or B or
                                        medical expenses under Coverage C.
17
                                 No other obligation or liability to pay sum or
18                               perform acts or services is covered unless explicitly
                                 provided for under Supplementary Payments
19                               Coverages A and B.

20                         b.    This insurance applies to “bodily injury” and
                                 “property damage” only if:
21
                                 (1)    The “bodily injury” or “property damage” is
22                                      caused by an “occurrence” that takes place in
                                        the “coverage territory”;
23
                                 (2)    The “bodily injury” or “property damage”
24
      TRAVELERS PROPERTY CASULTY COMPANY                                LETHER LAW GROUP
25    OF AMERICA’S COMPLAINT                                    1848 WESTLAKE AVENUE N, SUITE 100
      FOR DECLARATORY RELIEF – 5                                         SEATTLE, WA 98109
                                                                 P: (206) 467-5444 F: (206) 467-5544
             Case 3:21-cv-05805 Document 1 Filed 10/29/21 Page 6 of 18




 1                                occurs during the policy period;

 2                         (3)    Prior to the policy period, no insured listed
                                  under Paragraph 1. of Section II – Who Is
 3                                An Insured and no “employee” authorized
                                  by you to give or receive notice of an
 4                                “occurrence” or claim, knew that the “bodily
                                  injury” or “property damage” had occurred,
 5                                in whole or in part. If such a listed insured or
                                  authorized “employee” knew, prior to the
 6                                policy period, that the “bodily injury” or
                                  “property damage” occurred, then any
 7                                continuation, change or resumption of such
                                  “bodily injury” or “property damage” during
 8                                or after the policy period will be deemed to
                                  have been known prior to the policy period.
 9
                     c.    “Bodily injury” or “property damage” which occurs
10                         during the policy period and was not, prior to the
                           policy period, known to have occurred by any
11                         insured listed under Paragraph 1. Of section II –
                           Who is an Insured or any “employee” authorized by
12                         you to give or receive notice of an “occurrence” or
                           claim, includes any continuation, change or
13                         presumption of that “bodily injury” or “property
                           damage” after the end of the policy period
14
                     d.    “Bodily injury” or “property damage” will be
                           deemed to have been known to have occurred at the
15
                           earliest time when any insured listed under
                           Paragraph 1. of Section II – Who Is An Insured or
16
                           any “employee” authorized by you to give or receive
                           notice of an “occurrence” or claim:
17
                           (1)    Reports all, or any part, of the “bodily
18
                                  injury” or “property damage” to us or any
                                  other insurer;
19
                           (2)    Receives a written or verbal demand or claim
20
                                  for damages because of the “bodily injury”
                                  or “property damage”; or
21
                           (3)    Becomes aware by any other means that
22
                                  “bodily injury” or “property damage” has
                                  occurred or has begun to occur.
23
                    ...
24
     TRAVELERS PROPERTY CASULTY COMPANY                           LETHER LAW GROUP
25   OF AMERICA’S COMPLAINT                               1848 WESTLAKE AVENUE N, SUITE 100
     FOR DECLARATORY RELIEF – 6                                    SEATTLE, WA 98109
                                                           P: (206) 467-5444 F: (206) 467-5544
                  Case 3:21-cv-05805 Document 1 Filed 10/29/21 Page 7 of 18




 1   CG 00 01 10 01, p. 1.

 2          4.4     The Policy contains the following definitions that are applicable to the foregoing

 3   Insuring Agreement.

 4                  SECTION V – DEFINITIONS
                    ...
 5                  13.  “Occurrence” means an accident, including continuous or
                         repeated exposure to substantially the same general harmful
 6                       conditions.
                    ...
 7
                    17.      “Property damage” means:
                                    a.    Physical injury to tangible property,
 8
                                          including all resulting loss of use of that
                                          property. All such loss of use shall be
 9
                                          deemed to occur at the time of the physical
                                          injury that caused it; or
10
                                    b.    Loss of use of tangible property that is not
                                          physically injured. All such loss of use shall
11
                                          be deemed to occur at the time of the
                                          “occurrence” that caused it.
12
                    ...
13
     CG 00 01 10 01, pp.14-15
14
            4.5     The commercial general liability portion of the Policy contains the following
15
     exclusions and applicable definitions:
16
                    b.       Contractual Liability
17
                             "Bodily injury" or "property damage" for which the insured
18                           is obligated to pay damages by reason of the assumption
                             of liability in a contract or agreement. This exclusion does
19                           not apply to liability for damages:
                             (1)    That the insured would have in the absence of the
20                                  contract or agreement; or
                             (2)    Assumed in a contract or agreement that is an
21                                  "insured contract", provided the "bodily injury" or
                                    "property damage" occurs subsequent to the
22                                  execution of the contract or agreement. Solely for
                                    the purposes of liability assumed by you in an
23                                  "insured contract", reasonable attorney fees and
                                    necessary litigation expenses incurred by or for a
24
      TRAVELERS PROPERTY CASULTY COMPANY                                   LETHER LAW GROUP
25    OF AMERICA’S COMPLAINT                                       1848 WESTLAKE AVENUE N, SUITE 100
      FOR DECLARATORY RELIEF – 7                                            SEATTLE, WA 98109
                                                                    P: (206) 467-5444 F: (206) 467-5544
                 Case 3:21-cv-05805 Document 1 Filed 10/29/21 Page 8 of 18




 1                                 party other than an insured will be deemed to be
                                   damages because of "bodily injury" or "property
 2                                 damage", provided that:
                                   (a)    Liability to such party for, or for the cost
 3                                        of, that party's defense has also been
                                          assumed in the same “insured contract"; and
 4
                                   (b)    Such attorney fees and litigation expenses
 5                                        are for defense of that party against a civil
                                          or alternative dispute resolution proceeding
 6                                        in which damages to which this insurance
                                          applies are alleged.
 7
     CG 00 01 10 01, p. 2.
 8
                   SECTION V – DEFINITIONS
 9                 ...
                   9.   "Insured contract" means:
10                      ...
                        f.     That part of any other contract or agreement
11                             pertaining to your business (including an
                               indemnification of a municipality in connection with
12                             work performed for a municipality) under which you
                               assume the tort liability of another party to pay for
13                             “property damage” to a third person or organization.
                               Tort liability means a liability that would be imposed
14                             by law in the absence of any contract or
                               agreement….
15
     CG 00 01 10 01, p. 13.
16
                   j. Damage To Property
17                 "Property damage" to:
                                ...
18                        (5)   That particular part of real property on which you
                                or any contractors or subcontractors working
19                              directly or indirectly on your behalf are performing
                                operations, if the “property damage” arises out of
20                              those operations; or

21                           (6)   That particular part of any property that must be
                                   restored, repaired or replaced because "your work"
22                                 was incorrectly performed on it.
                             …
23

24
      TRAVELERS PROPERTY CASULTY COMPANY                                 LETHER LAW GROUP
25    OF AMERICA’S COMPLAINT                                     1848 WESTLAKE AVENUE N, SUITE 100
      FOR DECLARATORY RELIEF – 8                                          SEATTLE, WA 98109
                                                                  P: (206) 467-5444 F: (206) 467-5544
                 Case 3:21-cv-05805 Document 1 Filed 10/29/21 Page 9 of 18




 1                           Paragraph (6) of this exclusion does not apply to “property
                             damage” included in the “products completed operations
 2                           hazard”.

 3   CG 00 01 10 01, p. 4-5.

 4                 16.       "Products-completed operations hazard":
                             a.    Includes all "bodily injury" and "property damage"
 5                                 occurring away from premises you own or rent and arising
                                   out of "your product" or "your work" except:
 6                                 (1)     Products that are still in your physical possession;
                                           or
 7                                 (2)     Work that has not yet been completed or
                                           abandoned. However, "your work" will be deemed
 8                                         completed at the earliest of the following times:
                                           (a)     When all of the work called for in your
 9                                                 contract has been completed.
                                           (b)     When all of the work to be done at the job
10                                                 site has been completed if your contract
                                                   calls for work at more than one job site.
11                                         (c)     When that part of the work done at a job site
                                                   has been put to its intended use by any
12                                                 person or organization other than another
                                                   contractor or subcontractor working on the
13                                                 same project.
                                           Work that may need service, maintenance,
14                                         correction, repair or replacement, but which is
                                           otherwise complete, will be treated as completed.
15
     CG 00 01 10 01, p. 14.
16
                   k. Damage To Your Product
17
                   “Property damage” to “your product” arising out of it or any part of it.
18
     CG 00 01 10 01, p. 5.
19
                   l. Damage To Your Work
20
                   “Property damage” to “your work” arising out of it or any part of it
21                 and included in the “products-completed operations hazard”.

22                 This exclusion does not apply if the damaged work or the work out
                   of which the damage arises was performed on your behalf by a sub-
23                 contractor.

24
      TRAVELERS PROPERTY CASULTY COMPANY                                   LETHER LAW GROUP
25    OF AMERICA’S COMPLAINT                                       1848 WESTLAKE AVENUE N, SUITE 100
      FOR DECLARATORY RELIEF – 9                                            SEATTLE, WA 98109
                                                                    P: (206) 467-5444 F: (206) 467-5544
                Case 3:21-cv-05805 Document 1 Filed 10/29/21 Page 10 of 18




 1   CG 00 01 12 04, p. 5.

 2
               m. Damage To Impaired Property Or Property Not Physically
 3                Injured

 4                 “Property damage” to “impaired property” or property that has not
                   been physically injured, arising out of:
 5                        (1)     A defect, deficiency, inadequacy or dangerous
                                  condition in “your product” or “your work”; or
 6                        (2)     A delay or failure by you or anyone acting on your
                                  behalf to perform a contract or agreement in
 7                                accordance with its terms.

 8                 This exclusion does not apply to the loss of use of other property
                   arising out of sudden and accidental physical injury to “your
 9                 product” or “your work” after it has been put to its intended use.

10   CG 00 01 12 04 p. 5.

11                 SECTION V – DEFINITIONS
                   ...
12                 8. “Impaired property” means tangible property, other than “your
                       product” or “your work”, that cannot be used or is less useful
13                     because:
                          a.      It incorporates “your product” or “your work” that is
14                                known or thought to be defective, deficient,
                                  inadequate or dangerous; or
15                        b.      You have failed to fulfill the terms of a contract or
                                  agreement;
16
                         if such property can be restored to use by:
17
                             a.     The repair, replacement, adjustment or removal of
18                                  “your product” or “your work”; or
                             b.      Your fulfilling the terms of the contract or
19                                   agreement.
                   ...
20
                   21. “Your Product”:
21                        a.     Means:
                                 (1)    Any goods or products, other than real
22                                      property, manufactured, sold, handled,
                                        distributed or disposed of by:
23                                      (a)     You;
                                        (b)     Others trading under your name; or
24
      TRAVELERS PROPERTY CASULTY COMPANY                                   LETHER LAW GROUP
25    OF AMERICA’S COMPLAINT                                       1848 WESTLAKE AVENUE N, SUITE 100
      FOR DECLARATORY RELIEF – 10                                           SEATTLE, WA 98109
                                                                    P: (206) 467-5444 F: (206) 467-5544
                  Case 3:21-cv-05805 Document 1 Filed 10/29/21 Page 11 of 18




 1                                         (c)     A person or organization whose
                                                   business or assets you have acquired;
 2                                                 and
                                    ...
 3
                             b.     Includes:
 4                                  (1) Warranties or representations made at any time
                                        with respect to the fitness, quality, durability,
 5                                      performance or use of “your product”; and
                                    (2) The providing of or failure to provide warnings
 6                                      or instructions.
                             ...
 7
                     22.     "Your work":
                             a.    Means:
 8
                                   (1)    Work or operations performed by you or on your
                                          behalf; and
 9
                                   (2)    Materials, parts or equipment furnished in
                                          connection with such work or operations.
10
                             b.    Includes:
                                   (1)    Warranties or representations made at any time
11
                                          with respect to the fitness, quality, durability,
                                          performance or use of "your work", and
12
                                   (2)    The providing of or failure to provide warnings or
                                          instructions.
13
     CG 00 01 10 01, p. 13, 15.
14
                  n. Recall of Products, Work or Impaired Property
15
                     Damages claimed for any loss, cost or expense incurred by you or
16
                     others for the loss of use, withdrawal, recall, inspection, repair,
                     replacement, adjustment, removal or disposal of:
17
                             (1)    “Your product”;
18
                             (2)    “Your work”; or
                             (3)    “Impaired property”’
19
                     if such product, work, or property is withdrawn or recalled from the market or
20
                     from use by any person or organization because of a known or suspected defect,
                     deficiency, inadequacy or dangerous condition in it.
21
     CG 00 01 10 01, p. 5.
22
            4.6      The Policy also contain the following policy endorsement:
23

24
      TRAVELERS PROPERTY CASULTY COMPANY                                   LETHER LAW GROUP
25    OF AMERICA’S COMPLAINT                                       1848 WESTLAKE AVENUE N, SUITE 100
      FOR DECLARATORY RELIEF – 11                                           SEATTLE, WA 98109
                                                                    P: (206) 467-5444 F: (206) 467-5544
                 Case 3:21-cv-05805 Document 1 Filed 10/29/21 Page 12 of 18




 1                 AMENDMENT- NON CUMULATION OF EACH
                   OCCURRENCE LIMIT OF LIABILITY and NON
 2                 CUMULATION OF PERSONAL and ADVERTISING
                   INJURY LIMIT
 3
                   This endorsement modifies insurance provided under the following:
 4

 5                 COMMERCIAL GENERAL LIABILITY COVERAGE PART

 6                 1.     Paragraph 5 of SECTION III - LIMITS OF INSURANCE,
                          is amended to include the following:
 7
                          Non cumulation of Each Occurrence Limit - If one
 8                        "occurrence" causes "bodily injury" and/or "property
                          damage" during the policy period and during the policy
 9                        period of one or more prior and/or future policies that
                          include a commercial general liability coverage part for the
10                        insured issued by us or any affiliated insurance-company,
                          the amount we will pay is limited. This policy’s Each
11                        Occurrence Limit will be reduced by the amount of each
                          payment made by us and any affiliated insurance company
12                        under the other policy because of such "occurrence".
                          ...
13
     CG D2 03 12 97.
14
           4.7     The Policy also contains the following policy endorsement:
15
                   WASHINGTON CHANGES – DEFENSE COSTS
16
                   This endorsement modifies insurance provided under the following:
17
                   COMMERICAL GENERAL LIABILTY COVERAGE PART
18
                   B.     If we initially defend an insured (“insured”) or pay for an
19                        insured’s (“insured’s”) defense but later determine that none
                          of the claims (“claims”), for which we have provided
20                        defense or defense costs, are covered under this insurance,
                          we have the right to reimbursement for the defense costs we
21                        have incurred.

22                        The right to reimbursement under this provision will only
                          apply to the costs we have incurred after we notify you in
23                        writing that there may not be coverage and that we are

24
     TRAVELERS PROPERTY CASULTY COMPANY                                  LETHER LAW GROUP
25   OF AMERICA’S COMPLAINT                                      1848 WESTLAKE AVENUE N, SUITE 100
     FOR DECLARATORY RELIEF – 12                                          SEATTLE, WA 98109
                                                                  P: (206) 467-5444 F: (206) 467-5544
                    Case 3:21-cv-05805 Document 1 Filed 10/29/21 Page 13 of 18




 1                            reserving our rights to terminate the defense or the payment
                              of defense costs and to seek reimbursement of defense costs.
 2
     IL 01 23 11 13.
 3
             4.8      TPCC first received notice of the lawsuit filed against PIC on March 10, 2021.
 4
             4.9      As a matter of good faith and fair dealing TPCC investigated the claims alleged
 5
     against PIC.
 6
             4.10     On or about March 26, 2021, TPCC agreed to defend PIC subject to a full
 7
     reservation of rights.
 8
             4.11     In accordance with applicable law, TPCC now brings this claim for Declaratory
 9
     Judgment seeking a judicial determination that it does not owe any coverage obligation to PIC
10
     for the claims asserted in the Maplehurst claim.
11
           V.        NO INDEMNITY OR DEFENSE COVERAGE UNDER THE POLICY
12
             5.1      TPCC reasserts paragraphs 1.1 through 4.11 and incorporates the same as though
13
     fully stated herein.
14
             5.2      The Policy provides coverage only for “property damage” caused by an
15
     “occurrence,” as those terms are defined by the Policy, provided that any such “property damage”
16
     occurs during the policy period.
17
             5.3      There is an actual and justiciable controversy as to whether the claims against PIC
18
     involve claims for “property damage” as that term is defined.
19
             5.4      There is an actual and justiciable controversy as to whether the alleged liability of
20
     PIC is for “property damage” caused by any covered “occurrence.”
21
             5.5      There is an actual and justiciable controversy as to whether any “property
22
     damage” took place during any applicable policy period.
23
             5.6      The Policy does not provide coverage for losses which the insured had knowledge
24
      TRAVELERS PROPERTY CASULTY COMPANY                                     LETHER LAW GROUP
25    OF AMERICA’S COMPLAINT                                         1848 WESTLAKE AVENUE N, SUITE 100
      FOR DECLARATORY RELIEF – 13                                             SEATTLE, WA 98109
                                                                      P: (206) 467-5444 F: (206) 467-5544
                   Case 3:21-cv-05805 Document 1 Filed 10/29/21 Page 14 of 18




 1   of prior to the policy period.

 2          5.7      There is an actual and justiciable controversy as to whether PIC had knowledge,

 3   of the alleged loss or of any alleged “property damage” prior to the policy period.

 4          5.8      Pursuant to the Policy, coverage is excluded for liability for “property damage”

 5   to that particular part of real property on which an insured or its contractors or subcontractors

 6   worked directly or indirectly for the insured’s operations if the “property damage” arose out of

 7   those operations.

 8          5.9      There is an actual and justiciable controversy as to whether the claims against PIC

 9   involve liability for “property damage” to that particular part of real property on which PIC, or

10   its contractors or subcontractors, worked directly or indirectly for its operations and if said

11   “property damage” arose out of those operations.

12          5.10     Pursuant to the Policy, coverage is excluded for liability arising from damages

13   claimed for any loss, cost or expense incurred by PIC or others for the loss of use, withdrawal,

14   recall, inspection, repair, replacement, adjustment, removal or disposal of “your product,” “your

15   work,” or “impaired property” if such product, work, or property is withdrawn or recalled from

16   the market or from use by any person or organization because of a known or suspected defect,

17   deficiency, inadequacy or dangerous condition in it.

18          5.11     There is an actual and justiciable controversy as to whether the claims against PIC

19   involve liability for damages claimed for any loss, cost or expense incurred for the loss of use,

20   withdrawal, recall, inspection, repair, replacement, adjustment, removal or disposal of “your

21   product,” “your work,” or “impaired property” that has been withdrawn or recalled from the

22   market or from use by any person or organization because of a known or suspected defect,

23   deficiency, inadequacy, or dangerous condition in it.

24
      TRAVELERS PROPERTY CASULTY COMPANY                                   LETHER LAW GROUP
25    OF AMERICA’S COMPLAINT                                       1848 WESTLAKE AVENUE N, SUITE 100
      FOR DECLARATORY RELIEF – 14                                           SEATTLE, WA 98109
                                                                    P: (206) 467-5444 F: (206) 467-5544
                   Case 3:21-cv-05805 Document 1 Filed 10/29/21 Page 15 of 18




 1          5.12     Pursuant to the Policy, coverage is excluded for liability for “property damage”

 2   to the insured’s “your product.”

 3          5.13     There is an actual and justiciable controversy as to whether the claims against PIC

 4   involve liability for “property damage” to PIC’s product.

 5          5.14     Pursuant to the Policy, coverage is excluded for any contract under which PIC

 6   assumed liability that is not an “insured contract” or for liability that PIC would have in the

 7   absence of the contract or agreement.

 8          5.15     There is an actual and justiciable controversy whether PIC’s liability was assumed

 9   under any contract PIC had with JBT or any other entity.

10          5.16     Pursuant to the Policy, coverage is excluded for liability for “property damage”

11   to “your work.”

12          5.17     There is an actual and justiciable controversy as to whether the claims against PIC

13   involve liability for “property damage” to PIC’s work.

14          5.18     Pursuant to the Policy, coverage is precluded for “property damage” to “impaired

15   property” or other property that has not been physically injured arising out of a defect, deficiency,

16   inadequacy or dangerous condition in the insured’s product or the insured’s work.

17          5.19     There is an actual and justiciable controversy as to whether any alleged “property

18   damage” to any allegedly “impaired property” or other property that has not been physically

19   injured arises out of a defect, deficiency, inadequacy, or other dangerous condition in PIC’s work

20   or product.

21          5.20     Pursuant to the Policy, coverage is excluded for “property damage” to “impaired

22   property” or other property that has not been physically injured arising out of a delay or failure

23   by an insured or anyone acting on the insured’s behalf to perform a contract or agreement in

24
      TRAVELERS PROPERTY CASULTY COMPANY                                    LETHER LAW GROUP
25    OF AMERICA’S COMPLAINT                                        1848 WESTLAKE AVENUE N, SUITE 100
      FOR DECLARATORY RELIEF – 15                                            SEATTLE, WA 98109
                                                                     P: (206) 467-5444 F: (206) 467-5544
                   Case 3:21-cv-05805 Document 1 Filed 10/29/21 Page 16 of 18




 1   accordance with the terms of the contract or agreement.

 2          5.21     There is an actual and justiciable controversy as to whether any alleged “property

 3   damage” to any allegedly “impaired property” or other property that has not been physically

 4   injured arises out of a failure by PIC to perform a contract or agreement in accordance with the

 5   terms of the contract or agreement related to the Project.

 6          5.22     Pursuant to the Policy, coverage is excluded for liability arising from property

 7   that must be restored, repaired, or replaced because the insured’s work was incorrectly performed

 8   on it after the completion of the insured’s work.

 9          5.23     There is an actual and justiciable controversy as to whether the claims against PIC

10   involve liability arising from property that must be restored, repaired, or replaced because PIC’s

11   work was incorrectly performed on it after the completion of the insured’s work.

12          5.24     Pursuant to the non-cumulation provisions of the Policy, any payment by TPCC

13   under any policy for any “occurrence” will reduce the limit of each successive policy issued by

14   TPCC by the amount of any such payment for that “occurrence.”

15          5.25     To the extent that a progressive loss is alleged, there is an actual and justiciable

16   controversy as to whether any potential coverage available under the Policy would limit TPCC’s

17   obligations to a single policy period.

18          5.26     To the extent that multiple policies apply, there is an actual and justiciable

19   controversy as to whether TPCC’s obligations to PIC exceed the per occurrence limit of

20   $1,000,000.

21          5.27     Pursuant to the Policy, if TPCC initially pays for an insured’s defense but later

22   determines none of the claims for which defense was provided are covered under the Policy,

23   TPCC has a right to reimbursement for any defense costs TPCC has incurred.

24
      TRAVELERS PROPERTY CASULTY COMPANY                                    LETHER LAW GROUP
25    OF AMERICA’S COMPLAINT                                        1848 WESTLAKE AVENUE N, SUITE 100
      FOR DECLARATORY RELIEF – 16                                            SEATTLE, WA 98109
                                                                     P: (206) 467-5444 F: (206) 467-5544
                      Case 3:21-cv-05805 Document 1 Filed 10/29/21 Page 17 of 18




 1             5.28     To the extent that none of the claims are covered under the Policy, there is an

 2   actual and justiciable controversy as to whether TPPC’s defense costs will be reimbursed.

 3             5.29     TPCC reserves the right to assert any other exclusions or grounds for which

 4   coverage for the claims against PIC may be excluded under the Policy.

 5                      VI.    CAUSE OF ACTION FOR DECLARATORY RELIEF

 6             6.1      TPCC reasserts paragraphs 1.1 through 5.29 and incorporates the same as though

 7   fully set forth herein.

 8             6.2      Actual and justiciable controversies exist as to whether any defense coverage is

 9   available to PIC under the Policy as set forth above.

10             6.3      Pursuant to and in accordance with 28 U.S.C. § 2201, TPCC requests that the

11   Court grant declaratory relief in favor of TPCC and enter a judicial determination that TPCC

12   does not have an obligation to provide a defense to PIC in regard to the Maplehurst claim.

13             6.4      Actual and justiciable controversies exist as to whether any indemnity coverage

14   is available to PIC under the Policy in regard to the claims related to the Underlying Lawsuit.

15             6.5      Pursuant to and in accordance with 28 U.S.C. § 2201, TPCC requests that the

16   Court grant declaratory relief in favor TPCC and enter a judicial determination that TPCC does

17   not have an obligation to provide any indemnity coverage to PIC regarding the claims arising

18   from the Maplehurst claim.

19                                     VII.    PRAYER FOR RELIEF

20             WHEREFORE, Travelers Property Casualty Company of America having specifically

21   alleged the foregoing, now prays for the following relief:

22             1.       For a declaration of the rights and obligations of the parties hereto under the

23   Policy.

24
      TRAVELERS PROPERTY CASULTY COMPANY                                     LETHER LAW GROUP
25    OF AMERICA’S COMPLAINT                                         1848 WESTLAKE AVENUE N, SUITE 100
      FOR DECLARATORY RELIEF – 17                                             SEATTLE, WA 98109
                                                                      P: (206) 467-5444 F: (206) 467-5544
                 Case 3:21-cv-05805 Document 1 Filed 10/29/21 Page 18 of 18




 1          2.      For a declaration that there is no duty to defend PIC under the Policy.

 2          3.      For a declaration that there is no duty to indemnify PIC under the Policy.

 3          4.      For a judicial declaration that PIC is bound by any judicial declarations in this

 4   matter involving the Policy.

 5          5.      To the extent allowed by applicable law, for reimbursement of any and all defense

 6   costs, fees, or expenses incurred by TPCC in defending any entity or person in the Maplehurst

 7   claim who claims to be an insured under the Policy for which there is no defense obligation.

 8          6.      For all pre-judgment and post-judgment interest as allowed by applicable law.

 9          7.      For attorney fees and costs allowed by applicable statute and law.

10          8.      For other and further relief as the Court deems just and equitable.

11          DATED this 29th day of October 2021.

12                                                    LETHER LAW GROUP

13                                                    s/ Thomas Lether
                                                      s/ Eric Neal
14                                                    Thomas Lether, WSBA #18089
                                                      Eric J. Neal, WSBA#31863
15                                                    1848 Westlake Ave N., Suite 100
                                                      Seattle, WA 98109
16                                                    P: 206-467-5444 / F: 206-467-5544
                                                      eneal@letherlaw.com
17                                                    tlether@letherlaw.com
                                                      Counsel for Travelers Property Casualty
18                                                    Company of America

19

20

21

22

23

24
      TRAVELERS PROPERTY CASULTY COMPANY                                  LETHER LAW GROUP
25    OF AMERICA’S COMPLAINT                                      1848 WESTLAKE AVENUE N, SUITE 100
      FOR DECLARATORY RELIEF – 18                                          SEATTLE, WA 98109
                                                                   P: (206) 467-5444 F: (206) 467-5544
